806 F.2d 1410
    124 L.R.R.M. (BNA) 2349
    MOTION PICTURE &amp; VIDEOTAPE EDITORS GUILD, LOCAL 776,I.A.T.S.E., and International Photographers Guild,Local 659, Plaintiffs/Counter-Defendants/Appellees,v.INTERNATIONAL SOUND TECHNICIANS, CINETECHNICIANS ANDTELEVISION ENGINEERS OF The MOTION PICTURE ANDTELEVISION INDUSTRIES, LOCAL 695 ("LOCAL695"),Defendants/Counter-Claimants/Appellants.
    No. 85-6559.
    United States Court of Appeals,Ninth Circuit.
    Dec. 29, 1986.
    
      Jay D. Roth, Taylor, Roth &amp; Bush, Leo Geffner, Geffner &amp; Satzman, Los Angeles, Cal., for plaintiffs/counter-defendants/appellees.
      Timothy J. Sargent, Bodkin, McCarthy, Sargent &amp; Smith, Los Angeles, Cal., for defendants/counter-claimants/appellants.
      Prior report:  800 F.2d 973 (9th Cir.1986).
      Before ANDERSON, PREGERSON, and REINHARDT, Circuit Judges.
    
    ORDER
    
      1
      The opinion filed September 26, 1986 is amended by adding a new footnote at 800 F.2d at 975, second column, at the end of the first paragraph, as follows:
    
    
      2
      "We do not intend to suggest by our discussion in the text that the district court did not have jurisdiction over the suit as an initial matter.   See United Ass'n of Journeymen of Plumbing Industry, AFL-CIO v. Local 334, 452 U.S. 615, 627 [101 S.Ct. 2546, 2553, 69 L.Ed.2d 280] (1981) (holding that Sec. 301 grants the federal courts jurisdiction over disputes between locals and internationals regarding union constitutions, but leaving open the question of 'the substantive law to apply')."
    
    
      3
      With this amendment, the petition for rehearing is DENIED.
    
    
      4
      IT IS SO ORDERED.
    
    